
FERNANDEZ, Circuit Judge,
dissenting:
We are required to give due deference to a district court’s sentencing decisions. See United States v. Carty, 520 F.3d 984, 993 (9th Cir.2008) (en banc). That does not mean a grudging deference; it means that even if we would prefer a different sentence, we may not reverse. Id. In fact, “[e]ven if we are certain that we would have imposed a different sentence had we worn the district judge’s robe, we can’t reverse on that basis.” United States v. Whitehead, 532 F.3d 991, 993 (9th Cir.2008). As I see it, that requires us to approach our review of a substantive reasonableness1 issue with a great deal of humility. It is not always easy to avoid consulting oneself about what one would do if one were the sentencing judge. A case like this is especially tempting in that regard, and I fear that the majority has *842not resisted the temptation into which it has been led.
The record here makes it apparent that the district court, which lived with this case for many years, considered the materials placed before it and touched all of the procedural bases.2 The court calculated the guideline range,3 and no one says that it did so improperly. It also considered that range. It then expressly considered the nature and circumstances of Ressam’s heinous offense and the history and characteristics of Ressam;4 the seriousness of the offense, the need to promote respect for the law, and the need to impose a just punishment;5 the need to adequately deter others;6 and the need to avoid sentence disparities.7 And, while it did not specifically discuss the need to protect the public,8 it did note that it had to consider that, and we have nothing to indicate that it did not do so. The same is true of the provision regarding treatment of Ressam in the most effective manner,9 although the court’s reflection on the onerous conditions of Ressam’s incarceration might be seen as touching on that issue. And, while the court did not specifically mention the kinds of sentences available,10 that does seem rather obvious in this case. Of course, it is not even necessary for a district court to refer to each and every item in § 3553 when it sentences a miscreant. See Carty, 520 F.3d at 992. We do, after all, “assume that district judges know the law and understand their obligation to consider all of the § 3553(a) factors.... ” Id.
So where does that leave the majority? Simply put, it seems to me that the majority just does not like the fact that this terrorist is to sit in prison for a mere twenty-two years. What number would the majority choose; who knows? But although many federal sentences are even more draconian, twenty-two years seems like a long time to me, whether a defendant is young or old to start with. It is not a mere slap on the wrist, especially if the confinement conditions will be especially harsh, as the district court predicted they would be. Yet, when all is said and done, the majority simply does not like the way the district court weighed the evidence before it; obviously the majority would have done it differently.
Would I give Ressam that “light” a sentence? I somehow doubt it, but that is not the point. The point is that there are many sites within the borders of reasonable sentencing territory, and our job is to patrol those borders to assure that the district court has not slipped over them and into the land of abusers of discretion. That will rarely happen; it did not happen here. Unfortunately, this case is not just about what befalls Ressam; it reflects another entry by appellate courts into territory that always lures them, but is always forbidden to them. Society, we, and the district courts will someday regret the results of our case-by-case trespassing onto lands we should stay out of; the day this decision becomes law will, indeed, be a dies infaustus.
In short, the sentence was neither procedurally erroneous nor substantively unreasonable. See Carty, 520 F.3d at 993. *843Even if we have to grit our teeth to do so, we should let it be.11
Thus, I respectfully dissent.

. The government has expressly conceded that the sole issue on appeal is substantive reasonableness. That is all we should consider. In part II of the opinion, however, the majority, indicates that, despite the government’s concession, it must and will take up procedural error, but shrouds that determination with a brume of words whereby it suggests that procedure must be melded into the substantive reasonableness determination. The result is a gallimaufry that, by mistake or design, will (as it does here) require courts to consider far more than substantive reasonableness, even when the parties raise only that. No doubt that hodgepodge has contributed to the majority's ultimate erroneous decision here. Unfortunately, it is also a disagreeable gift to the law, and it will keep on giving.


. Again, the government does not even contend on appeal that there was reversible procedural error.


. See 18 U.S.C. § 3553(a)(4).


. See id. § 3553(a)(1).


. Id. § 3553(a)(2)(A).


. Id. § 3553(a)(2)(B).


. Id. § 3553(a)(6).


. Id. § 3553(a)(2)(C).


. Id. § 3553(a)(2)(D).


. Id. § 3553(a)(3).


. Even if I were to agree with the majority on the sentencing issue itself, I could not agree with its decision to remove Judge Coughenour because I do not see his approach to Ressam's sentencing as either indurate or inexplicable. I would not order transfer of this complex, long-standing (over ten years) case to a different district judge.

